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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA                     :
                                             :
                                             :
           v.                                :       CRIMINAL NUMBER 21-291-3
                                             :
                                             :
KYLE J. YOUNG                                :



                DEFENDANT’S RESPONSE TO MINUTE ORDER REGARDING
                             VIDEO EXHIBIT RELEASE


       Kyle J. Young, by and through his counsel, respectfully submits this response to the

Court’s June 23, 2021 Minute Order directing all parties to respond to Petitioners’ request for

access to “videos referenced in and depicted in screenshots in the government’s Memorandum in

Support of Detention” in the matter of codefendant Thomas Sibick and, in doing so, avers as

follows:

       1. On March 15, 2021, the government filed a Memorandum in Support of Detention for

codefendant Sibick. See ECF Doc. 8.

       2. On June 1, 2021, counsel for the Press Coalition filed a petition requesting access to

and the public release of videos referenced in and attached as exhibits to the government’s

Memorandum. See 21-mc-0082, Doc. 1.

       3. On June 23, 2021, the Court issued a Minute Order, pursuant to Standing Order No.

21-28, directing Mr. Young, through counsel, to advise the Court whether he objects to the

release of the videos at issue in the petition filed by members of the media in 21-mc-0082.

       4. Accordingly, Mr. Young hereby advises that he takes no position on the relief sought
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by the Press Coalition in 21-mc-0082.


                                          Respectfully submitted,


                                          /s/ Catherine C. Henry
                                          CATHERINE C. HENRY
                                          Senior Litigator

                                          /s/ Katrina Young
                                          KATRINA YOUNG
                                          Assistant Federal Defender
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                               CERTIFICATE OF SERVICE


       We, Catherine Henry, Senior Litigator, and Katrina Young, Assistant Federal Defender,

Federal Community Defender Office for the Eastern District of Pennsylvania, hereby certify that

we have electronically filed and served a copy of the attached Response to Minute Order

Regarding Video Exhibit Release via Electronic Case Filing (“ECF”) upon:


Cara A. Gardner
Tara Ravindra
Assistant United States Attorneys
United States Attorney’s Office
555 4th St., NW
Washington, DC 20530.

                                                   /s/ Catherine C. Henry
                                                   CATHERINE C. HENRY
                                                   Senior Litigator

                                                   /s/ Katrina Young
                                                   KATRINA YOUNG
                                                   Assistant Federal Defender
DATE: June 28, 2021
